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  8                     UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10
 11   In re: KIA HYUNDAI VEHICLE            Case No. 8:22-ML-3052-JVS-(KESx)
      THEFT LITIGATION
 12
      This Document Relates to:             The Honorable James V. Selna
 13
      City of Newark v. Hyundai Motor       ORDER GRANTING STIPULATION
 14   Company, Hyundai Motor America,       RE VOLUNTARY DISMISSAL OF
 15   Kia Corporation, and Kia America,     HYUNDAI MOTOR COMPANY AND
      Inc.                                  KIA CORPORATION, DISCOVERY,
 16   Case No. 8:24-cv-00323                AND SCHEDULE FOR MOTION TO
 17                                         DISMISS NEWARK’S FIRST
                                            AMENDED COMPLAINT [423]
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                                  ORDER GRANTING STIPULATION
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  1                                        ORDER
  2
  3        Before the Court is the parties’ stipulation regarding the voluntary dismissal of
  4 Hyundai Motor Company (“HMC”) and Kia Corporation (“KC”), discovery matters,
  5 and the hearing and briefing schedule for the Motion to Dismiss Plaintiff City of
  6 Newark’s (“Plaintiff”) First Amended Complaint (“City of Newark FAC”). Good
  7 cause appearing, the Court hereby approves the parties’ stipulation.
  8        The City of Newark FAC is dismissed without prejudice against HMC and KC
  9 pursuant to the terms and conditions as contained in the parties’ stipulation.
 10        Hyundai Motor America (“HMA”) and Kia America, Inc. (“KA”) shall file and
 11 serve their Motion to Dismiss the City of Newark FAC on or before June 12, 2024.
 12 Plaintiff’s Opposition shall be filed and served on or before July 15, 2024. HMA’s
 13 and KA’s Reply shall be filed and served on or before August 12, 2024. The hearing
 14 on the Motion to Dismiss is set for August 26, 2024 at 1:30 p.m.
 15
 16        IT IS SO ORDERED.
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 18
 19 Dated: May 21, 2024
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                                            ___________________________________
 21                                         Hon. James V. Selna
                                            United States District Judge
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                                   ORDER GRANTING STIPULATION
